              UNITED STATES DISTRICT COURT
             EASTERN DISTRICT OF WISCONSIN
JOSE TINEO,

              Defendant/Movant,                         Case No. 96-CR-58

              v.

UNITED STATES OF AMERICA,

                      Respondent.

                             OPINION AND ORDER

              Jose Tineo, a prisoner in federal custody, has moved the court for an

order dismissing the case against him which would include vacating his conviction and

sentence. Tineo argues that he is a citizen of Mexico and that, under the Vienna

Convention, a Mexican consular official should have been notified of his arrest.

              Construing this motion as a motion for relief pursuant to 28 U.S.C. § 2255,

the court finds that this is a consecutive section 2255 motion. This court denied Tineo’s

first motion on its merits on January 11, 1999. The Court of Appeals affirmed.

              Tineo has not sought leave of the Court of Appeals for the Seventh Circuit

to file a successive motion as required by 28 U.S.C. § 2244(b). Therefore, the court

lacks jurisdiction to address the merits of his motion and ORDERS that Tineo’s “Motion

For Judicial Request, To Dismiss My Case Because When I Was Arrested, Authorities

Failed to Inform Me (An Alien) Of My Right To Consult With My Nation’s Consular

Official, As Required By The Vienna Convention, Ratified By The United States on

November 27, 1969" (filed December 19, 2005) IS DENIED.




Case 2:96-cr-00058-JPS       Filed 02/28/06    Page 1 of 2     Document 260
             IT IS FURTHER ORDERED that this action is dismissed.

             IT IS FURTHER ORDERED that the Clerk of Court shall enter a judgment

of dismissal as a separate document. See Federal Rule of Civil Procedure 58. This

judgment shall provide that:

             Jose Tineo brought a motion for relief from his conviction
             and sentence before the court, the Honorable Thomas J.
             Curran, District Judge, presiding, and the court having
             concluded that it does not have jurisdiction to address this
             successive motion,

             IT IS ORDERED AND ADJUDGED

             that this action is dismissed for lack of jurisdiction.

             Done and Ordered in Chambers at the United States Courthouse,

Milwaukee, Wisconsin, this 28th day of February, 2006.




                                    s/ Thomas J. Curran
                                    Thomas J. Curran
                                    United States District Judge




                                            2


Case 2:96-cr-00058-JPS         Filed 02/28/06   Page 2 of 2     Document 260
